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                IN THE UNITED STATES DISTRICT COURT
                   EASTERN DISTRICT OF ARKANSAS
                          CENTRAL DIVISION

DYLAN BRANDT, et al.,                                                  PLAINTIFFS

v.                               CASE NO. 4:21-CV-00450-JM

LESLIE RUTLEDGE, et al.,                                            DEFENDANTS

                          STIPULATION AND ORDER

             The parties, by and through their counsel, respectfully submit the

following Stipulation and Order:

             WHEREAS, on December 1, 2022, the Court directed the parties to

meet and confer and to submit to the Court a proposed schedule for submitting

proposed findings of fact and post-trial briefs.

             WHEREAS, the parties have met and conferred and have agreed to a

proposed schedule for post-trial submissions and a page limit for the post-trial briefs

only.

             NOW, THEREFORE, the parties, by and through their counsel, hereby

stipulate and agree to submit proposed findings of fact on January 18, 2023, and to

submit post-trial briefs on February 1, 2023. The parties further stipulate and agree

that there will be no page limit for proposed findings of fact, and a page limit of
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45 double-spaced pages for post-trial briefs, exclusive of any cover pages or tables

of contents and/or authorities.

 Dated: December 15, 2022                    Respectfully submitted,

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                                       IT IS SO ORDERED.


                                       Hon. James M. Moody, Jr.
                                       United States District Judge
